     Case 2:20-cr-00322-ODW Document 13 Filed 07/29/20 Page 1 of 5 Page ID #:80


                                                                     7/29/2020
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10
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11   UNITED STATES OF AMERICA

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,               No. CR   2:20-cr-00322-ODW
15             Plaintiff,                    GOVERNMENT’S NOTICE OF REQUEST FOR
                                             DETENTION
16                   v.

17   RAMON OLORUNWA ABBAS,
      aka “Ray Hushpuppi,”
18    aka “Hush,”

19             Defendant.

20

21        Plaintiff, United States of America, by and through its counsel
22   of record, hereby requests detention of defendant and gives notice of
23   the following material factors:
24       1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
25             following grounds:
26            a.   present offense committed while defendant was on release
27                 pending (felony trial),
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     Case 2:20-cr-00322-ODW Document 13 Filed 07/29/20 Page 2 of 5 Page ID #:81



 1            b.    defendant is an alien not lawfully admitted for

 2                  permanent residence; and

 3            c.    defendant may flee; or

 4            d.    pose a danger to another or the community.
 5       2.    Pretrial Detention Requested (§ 3142(e)) because no
 6             condition or combination of conditions will reasonably
 7             assure:
 8             a.    the appearance of the defendant as required;
 9             b.    safety of any other person and the community.
10       3.    Detention Requested Pending Supervised Release/Probation
11             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
12             § 3143(a)):
13             a.    defendant cannot establish by clear and convincing
14                   evidence that he/she will not pose a danger to any
15                   other person or to the community;
16             b.    defendant cannot establish by clear and convincing
17                   evidence that he/she will not flee.
18       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
19             § 3142(e)):
20             a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
21                   (46 U.S.C. App. 1901 et seq.) offense with 10-year or
22                   greater maximum penalty (presumption of danger to
23                   community and flight risk);
24             b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
25                   2332b(g)(5)(B) with 10-year or greater maximum penalty
26                   (presumption of danger to community and flight risk);
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     Case 2:20-cr-00322-ODW Document 13 Filed 07/29/20 Page 3 of 5 Page ID #:82



 1             c.    offense involving a minor victim under 18 U.S.C.

 2                   §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

 3                   2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

 4                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 5                   to community and flight risk);

 6             d.    defendant currently charged with an offense described
 7                   in paragraph 5a - 5e below, AND defendant was
 8                   previously convicted of an offense described in
 9                   paragraph 5a - 5e below (whether Federal or
10                   State/local), AND that previous offense was committed
11                   while defendant was on release pending trial, AND the
12                   current offense was committed within five years of
13                   conviction or release from prison on the above-
14                   described previous conviction (presumption of danger to
15                   community).
16       5.    Government Is Entitled to Detention Hearing Under § 3142(f)
17             If the Case Involves:
18             a.    a crime of violence (as defined in 18 U.S.C.
19                   § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
20                   Federal crime of terrorism (as defined in 18 U.S.C.
21                   § 2332b(g)(5)(B)) for which maximum sentence is 10
22                   years’ imprisonment or more;
23             b.    an offense for which maximum sentence is life
24                   imprisonment or death;
25             c.    Title 21 or MDLEA offense for which maximum sentence is
26                   10 years’ imprisonment or more;
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     Case 2:20-cr-00322-ODW Document 13 Filed 07/29/20 Page 4 of 5 Page ID #:83



 1             d.    any felony if defendant has two or more convictions for

 2                   a crime set forth in a-c above or for an offense under

 3                   state or local law that would qualify under a, b, or c

 4                   if federal jurisdiction were present, or a combination

 5                   or such offenses;

 6             e.    any felony not otherwise a crime of violence that
 7                   involves a minor victim or the possession or use of a
 8                   firearm or destructive device (as defined in 18 U.S.C.
 9                   § 921), or any other dangerous weapon, or involves a
10                   failure to register under 18 U.S.C. § 2250;
11             f.    serious risk defendant will flee;
12             g.    serious risk defendant will (obstruct or attempt to
13                   obstruct justice) or (threaten, injure, or intimidate
14                   prospective witness or juror, or attempt to do so).
15        6.   Government requests continuance of _____ days for detention
16             hearing under § 3142(f) and based upon the following
17             reason(s):
18

19

20

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22   //
23   //
24   //
25   //
26   //
27   //
28   //
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     Case 2:20-cr-00322-ODW Document 13 Filed 07/29/20 Page 5 of 5 Page ID #:84



 1       7.    Good cause for continuance in excess of three days exists in

 2             that:

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 8   Dated: July 29, 2020                Respectfully submitted,
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